ii Case 5:07-cV-00185-C Document 16 Filed 05/04/09 Page 1 of 2 Page|D 49

IN THE UNITED STATES COURT OF APPEALS
FOR THE FIFTH CIRCUIT

U. S. COURT OF APPEALS

NO. 08-10611
UsDC NO. 5:07-Cv-185 F l L E D

USDC No. 5:05-CR~83-2

 

APR 2 9 2009

UNITED sTATEs oF AMERICA URLES R~ FULBRUC‘§§R"'<'

Plaintiff~APP€P`l'€€'"U:s. msTRxC'z' coler

NORTHERN DXSTRICTOFTEXAS
V_ FILED '
"'_"_¥

JUAN ANTHoNY REYES, JR MAY - 11 2009 g

Defendant-A}

 

 

 

 

 

Appeal from the United States District Court
for the Northern District of TeXas

 

O R D E R:

Juan Anthony Reyes, Jr., federal prisoner # 31910-17 7 , has filed an
application for a certificate of appealability (COA) to appeal the district court’s
denial of his 28 U.S.C. § 2255 motion, challenging his 2006 conviction for
distribution of methamphetamine and aiding and abetting and his 235-month
term of imprisonment Reyes argues that his counsel rendered ineffective
assistance in failing to investigate and object to convictions used to calculate his
criminal history category and that the district court should not have denied his

§ 2255 motion vvithout conducting an evidentiary hearing

 

To obtain a COA, Reyes must make a substantial showing of the denial of

a constitutional right. See 28 U.S.C. § 2253(€)(2). When, as here, a district court

 

 

 

 

Case 5:07-cV-00185-C Document 16 Filed 05/04/09 Page 2 of 2 Page|D 50
No. 08-10611

has rejected constitutional claims on their merits, a COA Will be granted only if
the applicant “demonstrate[s] that reasonable jurists Would find the district
court’s assessment of the constitutional claims debatable or Wrong.” Slack v.
McDaniel, 529 U.S. 473, 484 (2000).

Reyes’s argument that counsel rendered ineffective assistance in failing
to investigate and object to convictions used to calculate his criminal history
category is raised for the first time in his application for a COA in this court.
This court generally Will not consider issues raised for the first time in a COA
application Henderson u. Cockrell, 333 F.3d 592, 605 (5th Cir. 2003). Reyes has
Waived the remaining claims raised in the district court by failing to brief them.
See Hughes v. Johnson, 191 F.3d 607, 613 (5th Cir. 1999). Reyes has not made
a substantial showing of the denial of a constitutional right. See § 2253(€)(2).

Accordingly, Reyes’s application for a COA is DENIED.

aaa

NIF WALKER ELROD
NITE TATES CIRCUIT JUDGE

   

 

 
  
 

